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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 CASA, INC., et al.,

                       Plaintiffs,

        v.                                                Case No. 8:25-cv-00201-DLB

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                       Defendants.


                NOTICE OF APPEAL OF PRELIMINARY INJUNCTION

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeal for the Fourth Circuit from the Court’s February 5, 2025 Memorandum Opinion (ECF No.

65) and Order (ECF No. 66) granting Plaintiffs’ motion for preliminary injunction.


Dated: February 11, 2025                         BRETT A. SHUMATE
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